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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                TEXARKANA DIVISION

  HEALTH CHOICE GROUP, LLC and JAIME
  GREEN, on behalf of the UNITED STATES OF
  AMERICA; STATE OF ARKANSAS; STATE
  OF CALIFORNIA; STATE OF COLORADO;
  STATE OF CONNECTICUT; STATE OF
  DELAWARE; DISTRICT OF COLUMBIA;
  STATE OF FLORIDA; STATE OF GEORGIA;
  STATE OF HAWAII; STATE OF ILLINOIS;
  STATE OF INDIANA; STATE OF IOWA;
  STATE OF LOUISIANA; STATE OF
  MARYLAND; COMMONWEALTH OF
  MASSACHUSETTS; STATE OF MICHIGAN;
  STATE OF MINNESOTA; STATE OF
  MONTANA; STATE OF NEVADA; STATE OF
  NEW HAMPSHIRE; STATE OF NEW JERSEY;
  STATE OF NEW MEXICO; STATE OF NEW          Civil Action No.: 5:17-CV-126-RWS-CMC
  YORK; STATE OF NORTH CAROLINA;
  STATE OF OKLAHOMA; STATE OF RHODE               JURY TRIAL DEMANDED
  ISLAND; STATE OF TENNESSEE;
  STATE OF TEXAS; STATE OF VERMONT;
  COMMONWEALTH OF VIRGINIA; and
  STATE OF WASHINGTON,

        Plaintiffs/Relators,

  v.

  BAYER CORPORATION; AMGEN INC.;
  ONYX PHARMACEUTICALS, INC.;
  AMERISOURCEBERGEN CORPORATION;
  and LASH GROUP,

        Defendants.



                    PLAINTIFFS’/RELATORS’ RESPONSE TO
              DEFENDANTS’ RENEWED MOTION TO STAY DISCOVERY
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         Relators1 respectfully request that the Court deny Defendants’ renewed motion to stay

  discovery. Dkt. 92.

          On June 29, 2018, the Court recommended, in relevant part, that (1) Defendants’ motion

  to dismiss for failure to state a claim be denied; and (2) Defendants’ motion to dismiss for failure

  to meet Rule 9(b)’s heightened pleading standard be granted—without prejudice to amendment.

  See Dkt. 91. In their latest bid to derail this case, Defendants focus on the second aspect of the

  June 29 Report and Recommendation while ignoring that the Court squarely rejected

  Defendants’ attack on the actual merits of Relators’ claims.2 Relators are diligently working to

  amend the First Amended Complaint and, by the time Defendants’ renewed motion to stay

  discovery will be fully briefed, they anticipate filing an amended pleading that will resolve all of

  the Court’s Rule 9(b)-related concerns.

         As such, and for the reasons explained in Relators’ response to Defendants’ previous

  motion to stay discovery (Dkt. 53), the Court should deny this motion.




         1
             The term “Relators” refers to the parties identified as such in the caption of this action
         2
             Defendants failed to file any objections to the June 29 Report and Recommendation.

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  Dated: July 27, 2018                   Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

                  The undersigned hereby certifies that a true and correct copy of the above and
  foregoing document has been served on July 27, 2018 to counsel of record who are deemed to
  have consented to electronic services via the Court’s CM/ECF system. Any other counsel of
  record will be served by electronic mail, facsimile, U.S. Mail and/or overnight delivery.




                                                                         s/ Radu A. Lelutiu___
                                                                             Radu Lelutiu




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